                 Case 19-11466-MFW               Doc 2619-1         Filed 07/26/21         Page 1 of 2




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                         )   Chapter 11
                                                               )
CENTER CITY HEALTHCARE, LLC d/b/a                              )   Case No. 19-11466 (MFW)
HAHNEMANN UNIVERSITY HOSPITAL, et                              )
al.,1                                                          )   Jointly Administered
                                                               )
                                    Debtors.                   )   Hearing Date: August 24, 2021 at 2:00 p.m. (ET)
                                                                   Objection Deadline: August 9, 2021 at 4:00 p.m. (ET)
                                                               )

                                              NOTICE OF MOTION

          PLEASE TAKE NOTICE that on July 26, 2021, the above-captioned debtors and
  debtors-in-possession (collectively, the “Debtors”), by and through their undersigned counsel,
  filed the Motion of Debtors for Approval of Settlement of Preference Claims against Ensemble
  RCM, LLC Pursuant to Federal Rule of Bankruptcy Procedure 9019 (the “Motion”) with the
  Court.

         PLEASE TAKE FURTHER NOTICE that responses, if any, to the relief requested in
  the Motion are to be filed with the United States Bankruptcy Court for the District of Delaware,
  824 N. Market Street, Wilmington, Delaware 19801 on or before August 9, 2021 at 4:00 p.m.
  (ET) and served upon the undersigned counsel for the Debtors. Only properly and timely filed
  responses will be considered.

          PLEASE TAKE FURTHER NOTICE that a hearing on the Motion is scheduled for
  August 24, 2021 at 2:00 p.m. (ET) before the Honorable Mary F. Walrath, Judge of the United
  States Bankruptcy Court for the District of Delaware, 824 N. Market Street, 5th Floor, Courtroom
  #4, Wilmington, Delaware 19801, which hearing may be telephonic.

       IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT
  MAY GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE
  OR HEARING.




  1        The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
           are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
           Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA,
           L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center,
           L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics,
           L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS
           IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is 216 North Broad
           Street, 4th Floor, Philadelphia, Pennsylvania 19102.



  38769713.1 07/26/2021
          Case 19-11466-MFW   Doc 2619-1    Filed 07/26/21    Page 2 of 2




Dated: July 26, 2021                       SAUL EWING ARNSTEIN & LEHR LLP
       Wilmington, Delaware
                                           /s/ Monique B. DiSabatino
                                           Mark Minuti (DE Bar No. 2659)
                                           Monique B. DiSabatino (DE Bar No. 6027)
                                           1201 N. Market Street, Suite 2300
                                           P.O. Box 1266
                                           Wilmington, DE 19899
                                           Telephone: (302) 421-6800
                                           mark.minuti@saul.com
                                           monique.disabatino@saul.com

                                                  -and-

                                           Jeffrey C. Hampton
                                           Adam H. Isenberg
                                           Centre Square West
                                           1500 Market Street, 38th Floor
                                           Philadelphia, PA 19102
                                           Telephone: (215) 972-7777
                                           jeffrey.hampton@saul.com
                                           adam.isenberg@saul.com

                                           Counsel for Debtors and Debtors in
                                           Possession




                                     2
